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                       UNITED STATES DISTRICT COURT
                                                                        FILED
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                            DISTRICT OF SOUTH DAKOTA                    MAY 08 2019



UNITED STATES OF AMERICA,                   CR       'CiL-HooS^
                   Plaintiff,               REDACTED INDICTMENT
       V.

                                            Conspiracy to Commit Wire Fraud
CALVIN W. PELICHET,                         18 U.S.C. §§ 1343 and 1349
a/k/a CALVIN W. PELLICHET,
                                            Wire Fraud
                   Defendant.               18 U.S.C. S 1343



       The Grand Jury charges:

                                     COUNT 1


        (Conspiracy to Commit Wire Fraud - 18 U.S.C. §§ 1343 and 1349)

A.     Introduction:


       Beginning at a time unknown but no later than on or about November

2015, and continuing through on or about December 2016, in the District of

South Dakota and elsewhere, the Defendant, Calvin W. Pelichet, a/k/a Calvin

W. PelUchet, with others known and unknown to the Grand Jury, did conspire,

combine, and agree to commit the offense of wire fraud, in violation of 18 U.S.C.

§§ 1343 and 1349.      By and through All Around Sports, LLC ("AAS"), and

company representatives. Defendant willfully and unlawfully devised and

intended to devise a scheme and artifice to defraud and to obtain money and

property from      others    by   means   of false   and   fraudulent   pretenses,

representations, and promises. AAS and company representatives knowingly
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participated as the conduit for and recipient of money transfers from sourees

that Defendant targeted as the victims of the fraudulent scheme.

B.     Obiect of the Conspiracy:

       The primary object of the conspiracy was to obtain funds to enrich

Defendant, AAS's owner, and other AAS employees.

C.     Entities and Parties:


       At times relevant to this Indictment and to each count alleged herein:

       1.    All Around Sports, LLC, was a business located in a commercial

building at 5440 West Franklin Road, Boise, Idaho 83705.           AAS's stated

business purpose was to partner with schools to help them fund their athletic

programs while providing inexpensive advertising solutions for the local

merchants that supported those sehools. AAS utilized an on-site call center in

which salespeople called businesses, municipalities, and governmental entities

to try to sell advertisements. These advertisements were typically displayed on

athletic posters, pocket schedules, and t-shirts for high schools located in the

proximity of those making a purchase.

       2.    Defendant Calvin W.Pelichet, a/k/a Calvin W. Pellichet, was a Sales

Manager at AAS.

       3.    AAS Representative #1 was an owner and a signatory of an account

into which monies were deposited for legitimate and illegitimate business of AAS.

       4.    AAS Representative #2 was a Collections and Office Manager at AAS.

       5.    Oglala Sioux Tribe is a federally recognized tribe, headquartered in

Pine Ridge, South Dakota, with its lands within ,the exterior boundaries of the



                                       [2]
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Pine Ridge Reservation.

       6.     Oglala Lakota College and Oglala College Center are also on the

reservation, respectively located in Kyle and Oglala, South Dakota, and both

colleges are associated.

       7.     Crow    Creek   Sioux   Tribe   is   a federally   recognized   tribe,

headquartered in Fort Thompson, South Dakota, with its lands within the

exterior boundaries of the Crow Creek Reservation.

       8.     Lower   Brule   Sioux Tribe     is   a federally   recognized   tribe,

headquartered in Lower Brule, South Dakota, with its lands within the exterior

boundaries of the Lower Brule Reservation.

       9.     Kokarmuit Corporation ("Kokarmuit") is an Alaska Native for-profit

retailer located in Akiak, Alaska.

        10.   The City of Ambler is a predominantly Alaska Native village located

in the Northwest Arctic Borough, Alaska.

D.      Manner and Means of the Conspiracv:

       At times relevant to this Indictment and to each count alleged herein;

        1.    AAS's salespersons audio-recorded sales calls to ensure sales were

authorized. When a sale was made, another AAS employee verified the sale by

listening to the audio recording. As Sales Manager and salesperson at AAS,

Defendant Calvin W. Pelichet, a/k/a Calvin W. Pellichet, had the ability to audio-

record sales calls.   Defendant, unlike other salespersons, had the ability to

control the recording mechanism and was not subject to the verification process.

Defendant caused the audio-recording to capture, or not capture, portions of his



                                        [3]
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sales calls in a manner to effectuate the sale of AAS's goods and in order to make

more money.


      2.    AAS's salespersons also obtained e-signatures as another method to

gain authorization for payment from a customer's bank account, debit card, or

credit card.    Defendant sought e-signatures from individuals who were

unauthorized   to engage in such transactions.            Defendant and      AAS

Representative #2 made misrepresentations to individuals to induce them to e-

sign these forms. Many of these forms were pre-filled and only required an e-

signature, which is simply a typed name from the email recipient. Many of the

forms did not contain bank or credit card account information.             Those

individuals who received AAS electronic messages and e-signature forms did not

provide bank account information. These individuals were neither in a position

of authority nor in a position to know what bank account information to provide.

      3.    Defendant, AAS Representative #1, and AAS Representative #2 used

their respective e-mail accounts, landline phones, and mobile devices to engage

in lawful and unlawful company business.        E-mails and mobile messaging

originated from AAS computers or mobile devices located in Idaho and were sent

to computers or mobile devices located in South Dakota and elsewhere.

Customer responses were sent to an AAS e-mail address or mobile number.

      4.    Whether on a sales call, via e-mail, or through other electronic

means of communication. Defendant made false and fraudulent pretenses,

representations, and promises to employees of Oglala Sioux Tribe, Oglala Lakota

College, Oglala College Center, Crow Creek Sioux Tribe, Lower Brule Sioux Tribe,



                                       [4]
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Kokarmuit, and City of Ambler to obtain authorization to withdraw and obtain

funds. Defendant's conduct was part of the scheme and conspiracy in which

AAS Representatives #1 and #2 engaged.

E.     Wires:


       At times relevant to this Indictment and to each count alleged herein, in

the District of South Dakota and elsewhere, Defendant and others known and

unknown to the Grand Juiy, having devised the above-described scheme and

artifice to defraud, caused communications to be sent between Idaho and South

Dakota and elsewhere, and did knowingly use and cause communications to be

transmitted in interstate or foreign commerce, by means of a wire

communication, writings, signs, signals, and sounds, for the purpose of

executing such scheme and artifice. Defendant's acts and omissions were in

violation of 18 U.S.C. §§ 1343 and 1349.

                            COUNTS 2 THROUGH 9


                        (Wire Fraud - 18 U.S.C. § 1343)

       At times relevant to this Indictment and Counts 2 through 9, Paragraphs

A through E are realleged and incorporated by reference as though fully set forth

herein.


       On or about the dates set forth below, in the District of South Dakota and

elsewhere, the Defendant, Calvin W. Pelichet, a/k/a Calvin W. Pellichet, having

devised and intending to devise a scheme and artifice to defraud and to obtain

money and property by means of materially false and fraudulent pretenses,

representations, and promises, transmitted and caused to be transmitted by



                                       [5]
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means of wire communications in interstate and foreign commerce a writing,

sign, signal, and sound for the purpose seeking and obtaining funds from an

account belonging to the Oglala Sioux Tribe as follows:

 Count       On or about date          Description of Wire
 2           3/17/2016                 Wire transmission in the amount of $12,100
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                      Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank account of All Around Sports, LLC, at Idaho
                                      Central Credit Union in the State and District of
                                      Idaho.
             3/24/2016                Wire transmission in the amount of $10,000-
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                       Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank account of All Around Sports, LLC, at Idaho
                                      Central Credit Union in the State and District of
                                      Idaho.
             3/25/2016                Wire transmission in the amount of $16,000
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                      Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank aeeounfof All Around Sports, LLC, at Idaho
                                      Central Credit Union in the State and District of
                                      Idaho.
             4/7/2016                 Wire transmission in the amount of $32,000
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                       Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank account of All Around Sports, LLC, at Idaho
                                      Central Credit Union in the State and District of
                                      Idaho.
             5/2/2016                 Wire transmission in the amount of $22,000
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                       Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank account of All Around Sports, LLC, at Idaho
                                      Central Credit Union in the State and District of
                                      Idaho.
 7           5/6/2016                 Wire transmission in the amount of $34,000
                                      between a bank account at The First National
                                      Bank of Gordon in the State and District of
                                       Nebraska, belonging to the Oglala Sioux Tribe in
                                      the State and District of South Dakota, and a
                                      bank account of All Around Sports, LLC, at Idaho


                                       [6]
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                                        Central Credit Union in the State and District of
                                        Idaho.
 8           5/9/2016                   Wire transmission in the amount of $30,000
                                        between a bank account at The First National
                                        Bank of Gordon in the State and District of
                                        Nebraska, belonging to the Oglala Sioux Tribe in
                                        the State and District of South Dakota, and a
                                        bank account of All Around ^orts, LLC, at Idaho
                                        Central Credit Union in the State and District of
                                        Idaho.
             5/12/2016                  Wire transmission in the amount of $54,000
                                        between a bank account at The First National
                                        Bank of Gordon in the State and District of
                                        Nebraska, belonging to the Oglala Sioux Tribe in
                                        the State and District of South Dakota, and a
                                        bank account of All Around ^orts, LLC, at Idaho
                                       Central Credit Union in the State and District of
                                       Idaho.


       All are in violation of 18 U.S.C. S 1343.


                                              A TRUE BILL:


                                              Name Redacted


                                              Foreperson
RONALD A. PARSONS,JR.
United States Attorney




                                        [7]
